           Case 3:21-cv-06118-JD       Document 103-1      Filed 02/27/23    Page 1 of 3


 1   CRAVATH, SWAINE & MOORE LLP
     Antony L. Ryan (pro hac vice)
 2   Kevin J. Orsini (pro hac vice)
 3   Lauren M. Rosenberg (pro hac vice)
     Worldwide Plaza
 4   825 Eighth Avenue
     New York, New York 10019
 5   Tel.: (212) 474-1000
     Fax: (212) 474-3700
 6   aryan@cravath.com
 7   korsini@cravath.com
     lrosenberg@cravath.com
 8
     QUINN EMANUEL URQUHART & SULLIVAN LLP
 9   Michael E. Liftik (CA Bar No. 232430)
     Sarah Heaton Concannon (pro hac vice)
10   1300 I Street, Suite 900
     Washington, D.C. 20005
11
     Telephone: (202) 538-8000
12   michaelliftik@quinnemanuel.com
     sarahconcannon@quinnemanuel.com
13

14   Counsel for Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams

15                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
16

17   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
18                                                       [PROPOSED] ORDER ON FNF’S
                                Plaintiff,               ADMINISTRATIVE MOTION TO
19                                                       SEAL [ECF NO. 102]
               v.
20
21   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
22
                                Defendants.
23

24

25

26

27

28


             [PROPOSED] ORDER ON FNF’S ADMINISTRATIVE MOTION TO SEAL [ECF NO. 102]
                                   CASE NO. 3:21-CV-06118-JD
           Case 3:21-cv-06118-JD          Document 103-1          Filed 02/27/23       Page 2 of 3


 1          Having considered Freedman Normand Friedland LLP’s (“FNF’s”) Administrative Motion
 2   To Seal Documents Relating to Their Supplemental Opposition to Defendants’ Motion to
 3
     Disqualify (ECF No. 102) and exhibits to the Declaration of Edward Normand in Support of FNF’s
 4
     Administrative Motion to Seal (ECF Nos. 102-3, 102-4 and 102-5); and having considered
 5
     Defendants Dfinity USA Research, LLC, Dfinity Foundation, and Dominic Williams’ (together,
 6

 7   “Defendants’”) Opposition to FNF’s Administrative Motion to File Under Seal;

 8          IT IS HEREBY ORDERED:

 9          FNF’s Administrative Motion To Seal Documents Relating to Their Supplemental
10   Opposition to Defendants’ Motion to Disqualify (ECF No. 102) is denied with respect to the
11
     following portions of documents:
12

13                                                                       Designating
             Document             Corresponding Page Numbers                                 Ruling
                                                                           Party
14                                Excerpts highlighted at 1:11,
15                                1:24, 1:25, 1:26, 2:1, 2:21, 4:10,
                                  4:11, 4:12, 4:13, 4:15, 4:18,
      Plaintiffs’ Supplemental
16                                4:19, 4:22, 5:10, 5:11, 5:12,
      Opposition to
                                  5:13, 5:16, 5:18, 5:19, 5:20,           Plaintiffs
17    Defendants’ Motion to
                                  5:21, 5:22, 5:23, 5:24, 6:11,
      Disqualify
                                  6:12, 6:18, 6:19, 6:20, 6:23,
18                                6:24, 7:1, 7:2, 7:3, 7:4, 9:9, 10:1,
19                                10:2, 10:7, 10:8, 10:9, 10:10.
      Exhibit 1 to the Attorney
20    Declaration of Edward
      Normand in Further
21    Opposition to
      Defendants’ Motion to
22                                Entire transcript.                      Plaintiffs
      Disqualify (Deposition
23    Transcript of Rule
      30(b)(6) Testimony of
24    Freedman Normand
      Friedland LLP)
25

26

27

28

                                                       -1-
              [PROPOSED] ORDER ON FNF’S ADMINISTRATIVE MOTION TO SEAL [ECF NO. 102]
                                    CASE NO. 3:21-CV-06118-JD
           Case 3:21-cv-06118-JD         Document 103-1        Filed 02/27/23      Page 3 of 3




 1                                                                  Designating
             Document             Corresponding Page Numbers                             Ruling
                                                                      Party
 2    Exhibit 2 to the Attorney
 3    Declaration of Edward
                                  Section IV.A; references to a
      Normand in Further
                                  non-party in Section
 4    Opposition to
                                  VI.B; references to specific
      Defendants’ Motion to                                           Plaintiffs
 5                                litigation and
      Disqualify
                                  clients in Sections IV.C, IV.D,
      (Memorandum of
 6                                IV.E, and V.
      Understanding dated
 7    December 26, 2019)

 8
     IT IS SO ORDERED.
 9
     Dated: ____________________, 2023
10
                                                         ____________________________________
11                                                       Honorable James Donato
12                                                       United States District Judge
                                                         Northern District of California
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     2
